Case 1:04-cv-00126-ACK-BMK      Document 120-10      Filed 04/12/2006   Page 1 of 10



           OPINION MEMORANDUM ON JAPANESE CORPORATE
                      REORGANIZATION LAW


   This opinion memorandum discusses the Japan Corporate Reorganization

   Law (Law No. 172, June 7, 1952) (“JCRL”)1 and its relevance to issues,

   statements and conclusions contained in: (1) the Order Denying

   Defendants’ Motion for Summary Judgment in Civ. No. 04-00128

   ACK/BMK (“Order”); and (2) the Transcript of Proceedings before the

   Honorable Alan C. Kay United States District Judge dated March 20, 2006

   (“Transcript”).



   I.     THE JCRL

          A.     THE TRUSTEE UNDER JAPANESE LAW

   Under the JCRL, one method by which a debtor company’s business is

   taken over involves the reduction of capital of the debtor company and the

   issuance of new shares to a sponsor who provides an influx of capital.

   This was the method used in the corporate reorganization proceedings

   involving Sports Shinko Co., Ltd. (“SS-J”).



   The JCRL provides that a trustee (“kanzainin”) is appointed when the

   court’s decision to commence reorganization proceedings is rendered (JCRL

   Articles 46, 94, 95). The trustee may appoint an assistant trustee to assist

   with the trustee’s responsibilities (JCRL Art. 98).     The trustee acts on

   behalf of all related entities and parties to the corporate reorganization


   1 Although the JCRL was amended in 2003, the JCRL of 1952 was the
   applicable corporate reorganization law at the time of filing of the subject
   case.
                                  EXHIBIT K1
Case 1:04-cv-00126-ACK-BMK       Document 120-10       Filed 04/12/2006     Page 2 of 10




   (e.g., shareholders, creditors, secured parties, etc.) under the supervision of

   the court (JCRL Art. 98-3).



   As a general matter, a trustee has three major areas of responsibility and

   authority:
          (1) As a company representative, to carry out the
          management/administration of the business of the debtor company
          (JCRL Art. 53);
          (2) As the bankruptcy administrator, to deal with the administration
          and disposal of the assets of the debtor company (JCRL Art. 53); and
          (3) Preparation and drafting of (JCRL Art. 189) and carrying out the
          corporate reorganization plan (“kosei keikaku”) (JCRL Art. 247) and
          acting as an instrument of the court. (Joukai Kaisha Kousei Hou
          (Jou), Kaneko, Mikazuki, Takeshita, Shimojima, Maeda, Tamura &
          Aoyama, p. 493).
   Upon the court’s decision to commence reorganization proceedings, the

   right of management/administration of the debtor’s company’s business lies

   exclusively   with    the     trustee       (JCRL   53).     The       right   of

   management/administration includes maintenance of the debtor company

   as a going concern. However, the authority of the trustee only extends to

   those activities related to the assets that are the subject of the

   reorganization proceedings.      The trustee has the responsibility and

   authority of dealing with the administration and disposal of the assets of

   the debtor company, including filing a lawsuit, with the approval of the

   court, to increase the assets of the debtor company. Only the trustee may

   assert claims on behalf of the debtor company while corporate

   reorganization proceedings are pending.




                                           2
Case 1:04-cv-00126-ACK-BMK       Document 120-10    Filed 04/12/2006   Page 3 of 10




   Although a trustee may generally be acting on behalf of all related parties,

   the claims a trustee may assert are limited to only those asset related

   claims that the debtor company would otherwise have the right to assert.

   Consequently, a trustee has no advantage or conversely, disadvantage in

   either bringing suit or being sued when compared to the debtor company

   itself. (Kaishakousei-no-Jitsumu (Jou), June 10, 2005). Further, defenses

   that could be asserted against the debtor company can also be asserted

   against the trustee.   In this case, defenses relating to prior acts of the

   debtor company’s management could also be asserted against the trustee

   and subsequently, the reorganized company upon close of the corporate

   reorganization proceedings.



   The aforementioned responsibility and authority of the trustee lapses upon

   the close of the corporate reorganization proceeding. In this case, such

   responsibility and authority would then return to the reorganized company,

   which is in essence, the same entity as the debtor company.     The debtor

   company, by going through the corporate reorganization process under the

   JCRL, remains the same entity and is not, to borrow a phrase from the

   Transcript, “born again” (Transcript, p. 11, line 16).     Aside from the

   restructured debt, the reorganized company is otherwise the same entity as

   the debtor company pre-reorganization.



          B.     STANDING

   During the corporate reorganization proceedings under the JCRL, only the

   trustee has the power of administration and disposal of assets. (JCRL Art.

   53) Under Japanese law, while the corporate reorganization proceedings

                                        3
Case 1:04-cv-00126-ACK-BMK         Document 120-10     Filed 04/12/2006   Page 4 of 10




   are going on, only the trustee has standing to sue (either bring suit or be

   sued) on matters related to the debtor company’s assets. In such case, the

   suit must be brought in the trustee’s name. (JCRL Art. 96.I)



   When the corporate reorganization proceedings close, the proceedings are

   suspended to allow the discharge the trustee.        Although discussed more

   thoroughly in section I.D, the power of administration and disposal of

   assets then returns to the reorganized company, and as a result, only the

   reorganized company has the standing to sue (either bring suit or be sued).

   The reorganized company only holds the right to pursue asset-related

   claims that the debtor company held.        In precedent from a decision of the

   Supreme Court rendered on September 2, 1972, the court determined that

   a lawsuit filed by an unauthorized director while reorganization procedures

   were pending, would still be effective despite the original lack of standing if

   the reorganization procedures had been completed.



   The   debtor   company     in    the   underlying   corporate   reorganization

   proceedings, SS-J, is a Japanese company with a business office in Japan.

   Japanese laws would govern the rights of shareholders, creditors, and

   other interested parties in the debtor company.       The JCRL is applied not

   only to assets located in Japan but also those located all over the world.

   (Law No. 129, 2000 – deleting Article 4, the provision territorializing the

   application of the JCRL)



   As discussed in I.B. above, upon the termination of the rights of the trustee

   to assert claims of the debtor company, such rights return to the debtor

                                           4
Case 1:04-cv-00126-ACK-BMK     Document 120-10      Filed 04/12/2006    Page 5 of 10




   company. Authority to pursue claims under Japanese law would basically

   be held only by the debtor company, then the trustee, and then again by the

   reorganized company, which as discussed above is basically the same entity

   as the debtor company.   Under Japanese law, succession of interests would

   follow the same path as the authority, as previously discussed, to pursue

   claims.



   The trustee may have considered the Hawaii-based lawsuits in his

   appraisal of the assets during the corporate reorganization proceedings.

   The trustee accordingly drafted the reorganization plan, which was

   subsequently approved by the creditors. Under the JCRL, proceeds of a

   pending lawsuit may be specifically paid, e.g. to creditors, according to the

   terms of the corporate reorganization plan.   If payment is not specifically

   identified in the reorganization plan (as in this case), the litigation

   proceeds, if any, belong to the reorganized company.



   Language in the Order indicates that the court may not have considered

   Japanese law in determining rights of the shareholder.     For example, the

   Court stated:



   “These choses in action were of some value, so that when Goldman Sachs

   purchased SS-Japan from bankruptcy, it presumably factored these

   lawsuits into the price it paid for stock in SS-Japan and to the extent the

   external creditors were compensated.” (Order, p.17)



   While I cannot determine whether or how Goldman Sachs valued this

                                        5
Case 1:04-cv-00126-ACK-BMK      Document 120-10       Filed 04/12/2006   Page 6 of 10




   litigation or the acquisition of SS-J, there is no question under Japanese

   law that Goldman Sachs would not be able to raise any claims against KG

   Holdings, and that the reorganized SS-J would be fully entitled to the

   proceeds, if any, of the Hawaii-based lawsuits.



          C.      THE RECEIVER UNDER JAPANESE LAW

   It would be incorrect and improper to assume that terms used in foreign

   bankruptcy practice (including that of the United States) carry the same

   meaning and effect as identical terms used in English translations of

   Japanese corporate reorganization laws such as the JCRL. There is no

   concept of “receiver” in Japan that is identical to the “receiver” concept in

   the United States.      Although the term “receiver” has been used in

   translations of certain Japanese laws, it is critical to understand that use of
   that term does not import the same meaning used in other jurisdictions.



   In this reorganization case under the JCRL, there was no “receiver” to the

   extent that term means the same as that of “receiver” in the US.          The

   numerous references in the Order and Transcript identifying the fact that a

   “receiver” was involved in the corporate reorganization proceedings are

   problematic.   In the absence of a clear definition or description of the

   meaning of “receiver” in either the Order or Transcript, it is a serious

   concern that the court and other parties concerned incorrectly believed and

   determined that a “receiver”, as the term is used under US law, was

   involved in the debtor company’s reorganization proceedings under the

   JCRL in Japan.



                                         6
Case 1:04-cv-00126-ACK-BMK      Document 120-10      Filed 04/12/2006   Page 7 of 10




   Consider the following examples in the Order identifying the involvement

   of a “receiver”:
      “In this case, however, Plaintiff is standing in the shoes of the receiver
      and thus the suit should be permitted.” (Order, p.16);
      “The Court finds that in purchasing SS-Japan from bankruptcy,
      Goldman Sachs stepped into the shoes of the receiver for purposes of
      these pre-existing, consolidated actions” (Order, p.17);


   These examples are not exclusive, but raise potential problems with using

   the term “receiver.” First, Japan has no concept of “receiver” as the term

   is used in the US. Second, to the extent that the court is attributing rights

   and authority to the term “receiver”, it is creating rights and authority that

   are beyond what is available under Japanese law.



          D.      THE DEBTOR COMPANY UNDER JAPANESE LAW

   In this case, the entity that is the subject of reorganization under the JCRL

   is the same entity that went through corporate reorganization procedures

   and emerged from such procedures to function under the terms of the

   corporate reorganization plan.   The reorganized company’s right to pursue

   claims related to assets is identical to and limited to those rights held by

   the debtor company.    Further, defenses that could be asserted against the

   debtor company may also be asserted against the reorganized company.



   One way by which a debtor’s business is taken over through a corporate

   reorganization proceeding (which is the way of SS-J’s corporate

   reorganization) is the reduction of capital of the debtor and the issuance of

   new shares to a sponsor who provides an influx of capital and takes over


                                         7
Case 1:04-cv-00126-ACK-BMK     Document 120-10         Filed 04/12/2006   Page 8 of 10




   the debtor company.



   The Reorganization Plan, Paragraph I.11 of the section entitled Basic

   Policy and the Substance of the Reorganization Plan, sets forth the

   mechanism of dealing with SS-J’s company stock.           The aforementioned

   paragraph provides that stock of the debtor company, issued before

   approval of the reorganization, will be cancelled without compensation.      It

   further provides that new stock will be issued and allocated to South Wind

   Realty Finance Cayman Company, an affiliate of the Goldman Sachs

   Group.



   The trustee is not a third-party and is not the seller or transferor of such

   new stock.   Procedurally and based upon the reorganization plan, the

   debtor company, not the trustee, issues the stock, to South Wind.

   Factually, Goldman Sachs is only an indirect owner, through South Wind,

   and is not the debtor company itself.



   The corporate reorganization proceeding closed on April 20, 2004, and the

   trustee’s responsibilities and authority no longer exist after that date.

   The   Goldman     Sachs    affiliate    is   only   a   stockholder    in   the

   post-reorganization debtor company, not the debtor company itself, and

   holds only those rights that a stockholder in a Japanese corporation would

   otherwise hold under Japanese law.



   Because the trustee’s rights are limited to those that the debtor company

   possesses and the fact that the trustee’s rights are terminated when the

                                           8
Case 1:04-cv-00126-ACK-BMK      Document 120-10      Filed 04/12/2006   Page 9 of 10




   reorganization proceeding is closed after the approval of the plan, it can be

   said that the trustee, in carrying out his responsibilities under the JCRL,

   “steps into the shoes” of the debtor company, and steps right out upon the

   close of the reorganization procedures.       At such point, the right to

   administer and dispose of the assets of the debtor company returns to the

   debtor company itself.   Under Japanese law, no shareholder would “step

   into the shoes” of the trustee, not to mention a “receiver”, the US concept of

   which is not applicable in Japan.



   II.    CONCLUSION

   Based upon my review of the Reorganization Plan, Official Gazette entries

   related to the reorganization of SS-J, the Order, and the Transcript, I have

   concluded as follows:

             One method by which a debtor company’s business is taken over

             under the JCRL – and the method that was used in the SS-J case

             - involves the reduction of capital of the debtor company and the

             issuance of new shares to a sponsor who provides an influx of

             capital;

             In this case, the reorganized company is the same entity as the

             debtor company and has only the same rights and powers that

             the debtor company held;

             While corporate reorganization is pending, the trustee has the

             exclusive authority to assert on behalf of the debtor company

             claims which the debtor company would otherwise be able to

             assert prior to the commencement of reorganization proceedings;

             In this case, defenses that could be asserted against the debtor

                                         9
Case 1:04-cv-00126-ACK-BMK    Document 120-10      Filed 04/12/2006    Page 10 of 10




             company may be asserted against the trustee and the

             reorganized company;

             In this case, shareholders such as Goldman Sachs do not have

             the right under Japanese law to sue upon claims of the debtor

             company; and

             There is no concept of “receiver” in Japan that is identical to the

             “receiver” concept in the United States.




                                       10
